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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA



SOUTH CAROLINA COASTAL CONSERVATION LEAGUE;
CENTER FOR BIOLOGICAL DIVERSITY; DEFENDERS OF
WILDLIFE; NATURAL RESOURCES DEFENSE COUNCIL,
INC.; NORTH CAROLINA COASTAL FEDERATION;
OCEANA; ONE HUNDRED MILES; SIERRA CLUB; AND                      Civ. No. 2:18-cv-3326-RMG
SURFRIDER FOUNDATION,                                            (Consolidated with 2:18-cv-
                                                                 3327-RMG)
       Plaintiffs,

               v.                                                STIPULATION
                                                                 REGARDING RULE
NATIONAL MARINE FISHERIES SERVICE; WILBUR ROSS,                  26(a)(1) INITIAL
in his official capacity as the Secretary of Commerce;           DISCLOSURES
and CHRIS OLIVER, in his official capacity as the
Assistant Administrator for Fisheries,

       Defendants.




       In this litigation, Plaintiffs and Plaintiff-Intervenors, the State of Maryland et al.,

bring claims under the Marine Mammal Protection Act, Endangered Species Act, National

Environmental Policy Act, and the Administrative Procedure Act, challenging Federal

Defendants’ issuance of Incidental Harassment Authorizations for five proposed seismic surveys on

the U.S. Atlantic Outer Continental Shelf. See ECF Nos. 1, 68, 126 138. The State of South

Carolina ex rel Alan Wilson, Attorney General has made additional claims as set forth in the

South Carolina’s Complaint in Intervention.

       On February 20, 2019, this Court issued its standard Conference and Scheduling Order,

see ECF No. 125, requiring the parties to conduct a Rule 26(f) conference by March 13, 2019

and to submit a Rule 26(f) report by March 27, 2019. In response, the parties provide this filing

today, as well as the Rule 26(f) report filed as ECF No. 239.
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        The Court’s Order contained subsequent deadlines, including but not limited to, for the

completion of discovery, the identification of expert witnesses, the briefing of dispositive

motions, and ultimately, for trial. Id. Because Plaintiffs’ and Plaintiff-Intervenors the State of

Maryland et al.’s current claims challenge final administrative actions, Plaintiffs and Plaintiff-

Intervenors the State of Maryland et al. and the State of South Carolina ex rel Wilson, Federal

Defendants, and Intervenor-Defendants (hereinafter “Agreed Parties”) agree that these APA claims

should be decided based on the agency’s administrative record. See 5 U.S.C. § 706 (providing that the

Court’s review shall be based on “the whole record or those parts of it cited by a party”).1

        Pursuant to Federal Rule of Civil Procedure 26(a)(1)(B)(i) and Local Civil Rule 26.02,

the Agreed Parties submit that the requirements of Rule 26(a)(1) and Local Civil Rules 26.01 and

26.03 do not apply in this case. Accordingly, the Agreed Parties, other than South Carolina,

believe that they are exempt from the requirements set forth in the Court’s February 20, 2019

Order, including the requirement to submit initial disclosures. Until the Court adjudicates Federal

Defendants’ forthcoming motion to dismiss South Carolina’s unique claims, the Agreed Parties

agree that no other party will provide any other party with initial disclosures at this juncture.


                        Respectfully submitted this 27th day of March, 2019.




1
  Plaintiff-Intervenor South Carolina states that it does not agree to such a limitation as to its non-APA
claims. Although South Carolina has claims such as nuisance that are not APA based, South Carolina
does not believe that discovery is needed as to them; however, South Carolina reserves the right to use
exhibits filed in support of the Preliminary Injunction Motions to support its non-APA claims.
Federal Defendants and Intervenor-Defendants disagree with South Carolina’s position, contend that
the causes of action in South Carolina’s complaint in intervention are governed by the APA, and
reserve the right to oppose discovery and object to South Carolina’s use of any materials outside of
Federal Defendants’ administrative record to support its unique claims.
                                                    2
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